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12                           UNITED STATES DISTRICT COURT
13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                   WESTERN DIVISION
15   UNITED STATES OF AMERICA, )            Case No. CV 17-00399-TJH(JCx)
                                        )
16               Plaintiff,             )   PLAINTIFF UNITED STATES OF AMERICA’S
                                        )   MEMORANDUM OF POINTS AND AUTHORITIES
17                      v.              )   IN OPPOSITION TO MOTION TO DISSOLVE
                                        )   STAY FILED BY CLAIMANT MANUELA GOMEZ
18   $146,780.00 IN U.S.                )   AND DECLARATION OF VICTOR A.
     CURRENCY,                          )   RODGERS; [NON-PUBLIC DECLARATION IN
19                                      )   SUPPORT OF PLAINTIFF UNITED STATES
                 Defendant.             )   OF AMERICA’S OPPOSITION FILED OR
20                                      )   LODGED IN CAMERA UNDER SEPARATE
                                        )   COVER]
21   MANUELA GOMEZ,                     )
                                        )   Date:        June 25, 2018
22               Claimant.              )   Time:        Under Submission
                                        )   Courtroom:   the Honorable
23   __________________________________ )                Terry J. Hatter, Jr.
24
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1                     MEMORANDUM OF POINTS AND AUTHORITIES
2                              PRELIMINARY STATEMENT
3          Plaintiff United States of America respectfully submits
4    this memorandum of points and authorities in opposition to the
5    motion to dissolve the stay filed by claimant Manuela Gomez
6    (sometimes referred to herein as “claimant”).
7                                STATEMENT OF FACTS
8          A.    The Instant In Rem Civil Asset Forfeiture Action
9          On January 18, 2017, plaintiff United States of America
10   filed this in rem civil forfeiture action against the defendant
11   $146,780.00 in U.S. Currency, alleging that the defendant
12   currency is subject to forfeiture pursuant to 21 U.S.C.
13   § 881(a)(6) because the funds represent or are traceable to
14   proceeds of illegal narcotic trafficking or were intended to be
15   used in additional narcotics trafficking.          Docket No. 1.
16         On February 21, 2017, former claimant Pedro Luis Pietro
17   filed a verified claim to the defendant $146,780.00 in U.S.
18   Currency, declaring under penalty of perjury that he was the
19   “lawful owner and possessor” of the funds.          Docket No. 10.     On
20   February 22, 2017, Pietro filed a (i) notice of errata advising
21   that his verified claim “was erroneously filed as to the wrong
22   event that was selected for filing;” and (ii) the identical
23   verified claim.     Docket Nos. 11 and 12.      On February 27, 2017,
24   Pietro answered the complaint.        Docket No. 14.
25         On March 27, 2017, claimant Manuela Gomez (through the same
26   counsel who filed the Pietro verified claims and who is Pietro’s
27   aunt [see moving papers at 1:4-5]) filed (i) a verified claim to
28   the defendant $146,780.00 currency, alleging under oath that she




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1    is the “lawful owner and possessor” of the $146,780.00 in U.S.
2    Currency; and (ii) her answer to the complaint.           Docket Nos. 19
3    and 21.    Twenty-one days later, on April 17, 2017, Pietro filed
4    a notice of withdrawal of his verified claim.           Docket No. 22.
5          The government’s complaint provides as follows.           On July
6    12, 2016, the Drug Enforcement Administration initiated a state
7    wiretap investigation of the narcotics activities of unknown
8    males known as AAA and TNT8/08, who were identified as Mexico-
9    based narcotics traffickers.        Complaint ¶ 8.    Intercepted
10   communications indicated that AAA and TNT8/08 were coordinating
11   the transportation of approximately $155,000 of narcotics
12   proceeds.    Id. at ¶ 9.     Based on the intercepted communications,
13   the courier for these narcotics proceeds was identified as
14   “Sobrino” who utilized a telephone number ending in ‘3671.             Id.
15   at ¶ 10.    Pursuant to a state search warrant for telephone
16   number ‘3671, investigators learned that this number was
17   subscribed to the address located in Compton, California where
18   the defendant currency was seized.         Id. at ¶ 11.
19         On August 27, 2016, intercepted communications indicated
20   that Sobrino was in possession of the narcotic proceeds and was
21   presently at the residence in Compton, California.           Id. at ¶ 12.
22   On August 27, 2016, the surveillance team observed Prieto
23   driving a Honda Crossover up and down the street and looking
24   into vehicles before parking at the Compton residence.            Id. at
25   ¶ 13.    Investigators believed that Prieto was utilizing a
26   counter-surveillance technique.        Id.   Prieto used a key to gain
27   entrance into the residence.        Id.   On August 29, 2016, during
28   the execution of a California state search warrant at the




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1     residence, investigators made contact with three occupants in
2     the residence who were identified as Prieto, A. Gomez and H.
3     Gomez.      Id. at ¶ 14.   All three claimed to reside at the house
4     and stated that no other persons resided there.            Id.
5     Investigators discovered $146,780 in U.S. currency (i.e., the
6     defendant currency) inside two unmarked boxes inside a dresser
7     in the bedroom utilized by Prieto.        Id. at ¶ 15.      Investigators
8     also located a cellular telephone in the same bedroom.              Id. at
9     ¶ 16.      Prieto gave consent to search the telephone.          Id.
10    Investigators found that the telephone had the number of the
11    courier’s telephone number ending in ‘3671.          Id.    Prieto, A.
12    Gomez, and H. Gomez each denied ownership of the defendant
13    currency and signed Disclaimer of Ownership and Waiver of Notice
14    forms.      Id. at ¶ 17.
15          B.      The Related State Criminal Case Against Pietro And The
                    Parties’ Stipulation To Stay This Action Pending The
16                  Resolution Thereof.
17          On December 4, 2017, a felony criminal complaint was filed
18    in Los Angeles Superior Court against Prieto.          See People of the
19    State of California v. Pedro Luis Prieto, Los Angeles County
20    Superior Court Case No. BA463301.        About two weeks later, on
21    December 20, 2017, the government and claimant Gonzalez filed
22    their “stipulation and request to stay civil forfeiture action
23    pending conclusion of related criminal case,” in which they
24    requested that the instant forfeiture action be stayed pursuant
25    to 18 U.S.C. § 981(g)’s mandatory stay provision.            Docket No. 25
26    (emphasis added).      Pursuant to the Court’s order based upon the
27    parties’ stipulation, the Court stayed this civil forfeiture
28    action pending the resolution of the state criminal case, with




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1     the government having to file status reports every ninety days
2     in order to enable the Court to monitor the status of this
3     matter.    Docket No. 26.    On February 1 and May 1, 2018, the
4     government filed the status reports.        Docket Nos. 27 and 29.
5           The parties’ December 20, 2017 stay stipulation, which
6     attaches the state court criminal complaint as an exhibit, makes
7     clear that the state and federal cases are related, as both are
8     based upon the narcotics trafficking activity that led to the
9     August 29, 2016 seizure of the defendant $146,780.00 in U.S.
10    Currency.    The stipulation (docket no. 25) provides as follows:
11               As reflected in the complaint in the criminal
            case, the criminal case charges Prieto with possessing
12          over $100,000.00 in narcotic proceeds on August 29,
            2016, in violation of California Health and Safety
13          Code Section 11370.6(a), while the instant civil
            forfeiture case seeks to forfeit the defendant
14          $146,780.00 in U.S. Currency seized from claimant
            Pedro Prieto’s residence on August 29, 2016 on grounds
15          that the funds constitute traceable proceeds of
            narcotics trafficking. Docket No. 1 (government’s
16          civil forfeiture Complaint ¶¶ 14, 15 and 18).
            Accordingly, the criminal case and the instant civil
17          forfeiture litigation arise out of the same facts and
            will involve many of the same issues of fact and law,
18          and judicial economy will be served by staying this
            action.
19                                  ARGUMENT
20          A.    A Stay (And The Continuation Thereof) Is Appropriate
                  Because Civil Discovery Will Adversely Affect The
21                Prosecution Of A Related Criminal Case.
22          In addition to addressing claimant’s argument that the stay
23    in this action should be dissolved, the government must also set
24    forth below the authorities establishing that the stay, to which
25    claimant Gonzalez stipulated before reversing her position, is
26    appropriate in the first instance.        18 U.S.C. § 981(g)(1) & (2),
27    which became effective August 23, 2000 as part of the Civil
28    Asset Forfeiture Reform Act of 2000 (“CAFRA”), provides:



                                           4
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1           (1)   Upon the motion of the United States, the court
                  shall stay the civil forfeiture proceeding if the
2                 court determines that civil discovery will
                  adversely affect the ability of the Government to
3                 conduct a related criminal investigation or the
                  prosecution of a related criminal case.
4
            (2)   Upon the motion of a claimant, the court shall
5                 stay the civil forfeiture proceeding with respect
                  to that claimant if the court determines that -
6
                  (A)   the claimant is the subject of a related
7                       criminal investigation or case;
8                 (B)   the claimant has standing to assert a claim
                        in the civil forfeiture proceeding; and
9
                  (C)   continuation of the forfeiture proceeding
10                      will burden the right of the claimant
                        against self-incrimination in the related
11                      investigation or case.
12          CAFRA “provide[s] for a stay whenever a court determines
13    that civil discovery will adversely affect the ability of the
14    government to investigate or prosecute a related criminal case.”
15    United States v. GAF Financial Services, Inc., 335 F. Supp. 2d
16    1371, 1373 (S.D. Fla. 2004) (citation omitted).           Although the
17    concept of staying civil forfeiture proceedings was well
18    ingrained in federal jurisprudence before the enactment of
19    CAFRA, the explicit mandatory stay provision in CAFRA (i.e., 18
20    U.S.C. § 981(g)) lightened the burden on the party seeking a
21    stay by eliminating the requirement that the movant establish
22    good cause for the stay, and permitting stays even if an ongoing
23    investigation had not yet resulted in a criminal indictment.             As
24    noted in United States v. All Funds Deposited in Account No.
25    20008524845, 162 F. Supp. 2d 1325, 1330-31 (D. Wyo. 2001):
26          The standard for granting relief under the amended
            statute has also been changed by striking the words
27          “for good cause shown” found in the former sections of
            the forfeiture law that establish the standard for
28          granting stay relief. The new statute requires only
            that the court “determine[s] that civil discovery will


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1           adversely affect the ability of the Government to
            conduct a related criminal investigation for [sic] the
2           prosecution of a related criminal case.” See 18
            U.S.C. § 981(g)(1).
3
      Accordingly, while cases granting stays under the prior
4
      statute’s good cause requirement remain relevant under CAFRA,
5
      cases denying stays because good cause had not been shown are no
6
      longer good law.
7
                  1.     The Civil Forfeiture And Criminal Cases Are
8                        Clearly Related Under 18 U.S.C. § 981(g)(4)’s
                         Broad Definition.
9
            The criminal case is clearly related to the civil
10
      forfeiture action in light of the broad definition of “related
11
      criminal case” in 18 U.S.C. § 981(g)(4), which is the statute
12
      governing the interpretation of those words as used in 18 U.S.C.
13
      § 981(g)(1) and (2)’s mandatory stay provision.           That statutory
14
      definition makes clear that neither the parties nor the facts in
15
      the civil and criminal cases need be identical for the two cases
16
      to be considered related.       Instead, the court must analyze
17
      several factors, which are set forth in the disjunctive:
18
            In determining whether a criminal case or
19          investigation is “related” to a civil forfeiture
            proceeding, the court shall consider the degree of
20          similarity between the parties, witnesses, facts, and
            circumstances involved in the two proceedings, without
21          requiring an identity with respect to any one or more
            factors.
22
      18 U.S.C. § 981(g)(4).       In other words, 18 U.S.C. § 981(g)(4)
23
      indicates that the forfeiture and criminal cases should have
24
      some similarities but need not be identical in all aspects.             The
25
      civil forfeiture and criminal cases are clearly related under
26
      the broad statutory definition, despite claimant’s conclusory
27
      assertion that “the parties and the circumstances are both
28
      different.”      See moving papers at 3:26-28 n. 1.


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1           Claimant previously stipulated that “the criminal case and
2     the instant civil forfeiture litigation arise out of the same
3     facts and will involve many of the same issues of fact and law.”
4     Docket No. 25.     The state felony criminal complaint charges
5     Prieto with, due to his possession of the defendant $146,780.00
6     on April 29, 2017, violating California Health and Safety Code
7     11370.6(a), 1 which provides for the criminal prosecution of
8     persons who possess over $100,000.00 in narcotic proceeds or who
9     possess over $100,000.00 in funds intended for the purchase of
10    narcotics.    Similarly, the instant civil forfeiture case seeks
11    forfeiture pursuant to 21 U.S.C. § 881(a)(6) 2 of the $146,780.00
12    seized from Prieto on August 29, 2016 because they represent
13    traceable proceeds of narcotic trafficking or were intended to
14    be used for narcotic trafficking.
15          Where, as here, the cases have overlapping facts, courts
16    routinely find that 18 U.S.C. § 981(g)(4)’s related case
17
           1 California Health and Safety Code § 11370.6(a) provides in
18    relevant part:
19          Every person who possesses any moneys . . . in excess
            of one hundred thousand dollars ($100,000) which have
20          been obtained as the result of the unlawful sale,
            possession for sale, transportation, manufacture,
21          offer for sale, or offer to manufacture any controlled
            substance . . . , with knowledge that the moneys . . .
22          have been so obtained, and any person who possesses
            any moneys . . . in excess of one hundred thousand
23          dollars ($100,000) which are intended by that person
            for the unlawful purchase of any controlled substance
24          . . . and who commits an act in substantial
            furtherance of the unlawful purchase, shall be
25          punished by imprisonment . . .
26          221 U.S.C. § 881(a)(6) renders subject to forfeiture “[a]ll
      moneys . . . furnished or intended to be furnished by any person
27    in exchange for a controlled substance or listed chemical in
      violation of this subchapter, all proceeds traceable to such an
28    exchange, and all moneys . . . used or intended to be used to
      facilitate any violation of this subchapter.”



                                            7
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1     definition is met. 3     Claimant, who is criminal defendant Prieto’s
2     aunt (moving papers at 1:4-5), has cited no caselaw where a
3     court concluded that the criminal and civil forfeiture cases
4     were not related under 18 U.S.C. § 981(g)(4).           Instead, claimant
5     argues that 18 U.S.C. § 981(g)(1)’s “related criminal case”
6     requirement (which term is defined broadly in 18 U.S.C.
7     § 981(g)(4)) is not met because the parties in the two cases are
8     not identical since the State of California is prosecuting the
9     criminal case while the federal government has filed the civil
10    forfeiture action.      Moving papers at 2:18-3:5 and 3:23-28 n. 1.
11    Claimant cites no cases to support her argument. 4
12
            3United States v. $166,450.48 in U.S. Currency, 2013 WL
13
      6623176, *3 (D. Or. Dec. 16, 2013) (granting stay despite claims
14    filed by third parties who were not criminal defendants; all
      that is required is that the cases arise out of common facts and
15    circumstances and involve common parties); United States v.
      Assorted Firearms, Motorcycles and Other Personal Property, 677
16    F. Supp. 2d 1213 (C.D. Cal. 2009) (granting stay over the
      objection of claimants who were not defendants in related
17    criminal case; given overlapping facts and relationship between
      claimants and defendants, civil discovery would likely affect
18    the government’s ability to prosecute); United States v.
      $69,577.00 in U.S. Currency, 2009 WL 1404690, *3 (N.D. Cal. May
19    19, 2009) (“The court further finds that a stay is warranted
      even though claimants are not defendants in the criminal case.
20    Claimants are family members of the defendant, and even if there
      is not an ‘identity’ of parties in both actions, there is an
21    identity of interests”) (citations omitted); United States v.
      $129,852 in U.S. Currency, 2008 WL 5381863, *2 (W.D. La. Dec.
22    17, 2008) (stay granted even though claimants were neither
      targets nor criminal defendants); United States v. 2004 Cadillac
23    DeVille, 2008 WL 619358, *1 (S.D. Ohio 2008) (stay granted
      because civil discovery could affect criminal investigation of
24    claimants= sons and other third parties; that claimants
      themselves are not subjects of the investigation is not reason
25    to vacate stay); United States v. GAF Financial Services, Inc.,
      335 F. Supp. 2d 1371, 1373 (S.D. Fla. 2004) (granting stay and
26    concluding that criminal investigation and civil forfeiture
      action were clearly related when they involved common facts,
27    similar violations and some common parties).
28         4 Claimant’s assertions regarding other statutes are wide-
      of-the mark. Claimant argues that 18 U.S.C. § 981(g)(1) is
      limited to federal criminal cases because different subsections


                                            8
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1           Even assuming 18 U.S.C.’s § 981(g)(4) related parties
2     definition requires identical parties in the criminal and civil
3     forfeiture cases (which it clearly does not), claimant is still
4     wrong.    18 U.S.C. § 981(g)(1) plainly provides that a stay is
5     required “if civil discovery will adversely affect . . . the
6     prosecution of a related criminal case;” the statute does not
7     limit stays to related federal criminal cases, nor is there any
8     plausible argument that the legislature intended to restrict the
9     statute in that manner. 5      Accordingly, in United States v.
10    $144,001 in U.S. Currency, 2010 WL 1838660, *2 (N.D. Cal. May 3,
11    2010), the court granted the government’s motion pursuant to 18
12    U.S.C. § 981(g) to stay a civil forfeiture action based upon a
13    related state criminal case, and stated:
14          [Claimant] argues that the Court should not stay this
            matter because the statute is limited to
15          investigations or proceedings that are conducted by
            the federal government, rather than by state
16          governments. . . . [Claimant] cites no authority in
17    of 18 U.S.C. § 981(g)(1) (i.e., subsections (g)(5) and (g)(7))
      provide that “the Government” may challenge a claimant’s
18    standing and “the Government” may submit evidence ex parte to
      show that civil discovery could adversely affect a criminal
19    case. Moving papers at 2:18-3:5. However, there is nothing to
      prevent the federal government from showing the harm that would
20    be suffered if civil discovery proceeded while a state criminal
      case was pending, nor does the federal government’s post-state
21    criminal case resolution challenge to a claimant’s standing have
      anything to do with the propriety of a stay. In addition,
22    claimant’s reliance upon a wholly separate subsection of 18
      U.S.C. § 981 (i.e., 18 U.S.C. § 981(k)) is misplaced, because
23    that subsection deals with forfeited interbank accounts and has
      absolutely nothing to do with 18 U.S.C. § 981(g)(1) stays.
24
           5 In fact, 18 U.S.C. § 981(g)(2)(A) and (C), which sets
25    forth the circumstances upon which a claimant is entitled to a
      mandatory stay, requires courts to issue stays if the claimant
26    is the subject of a “related criminal case” or continuation of
      forfeiture proceeding will burden claimant’s right against self-
27    incrimination in the “related case.” The statute does not
      exclude state criminal cases - - regardless of whether the
28    criminal case is state or federal, a claimant has constitutional
      rights against self-incrimination that warrant the stay.



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1           support of this argument, and the Court does not find
            it persuasive. A fair reading of the statute
2           demonstrates that a stay shall be granted if civil
            discovery would adversely affect either the “ability
3           of the Government to conduct a related criminal
            investigation” or would adversely affect “the
4           prosecution of a related criminal case.”
5     Accord United States v. $1,026,781.61 in Funds From Florida
6     Capital Bank, 2013 WL 4714188, *1 n. 1 (C.D. Cal. Jul. 29, 2013)
7     (same). 6
8                  2.   The Stay Is Appropriate For Multiple Reasons.
9                       a.   A Stay Is Warranted Based Upon The Evidence
                             Presented Under Seal.
10
            A stay is warranted here under 18 U.S.C. § 981(g)(1)
11
      because proceeding with civil discovery will have an adverse
12
      effect on the prosecution of a related criminal case.            In
13
      requesting a stay pursuant to 18 U.S.C. § 981(g)(1), “the
14
      Government may, in appropriate cases, submit evidence ex parte
15
      in order to avoid disclosing any matter that may adversely
16
      affect an ongoing criminal investigation or pending criminal
17
      trial.”     18 U.S.C. § 981(g)(5).     Pursuant to this provision, the
18
      government has submitted a non-public declaration in camera and
19
      under seal in support of its stay request.
20
                        b.   A Stay is Warranted Because Proceeding With
21                           Discovery Would Permit Claimant To Conduct
                             Discovery When Parties Are Not Permitted To
22                           Do So In Criminal Cases.
23          Even without considering the evidence submitted under seal,
24    a stay is warranted.      If this action does not remain stayed,
25
            6See also United States v. $6,190.00, 2008 WL 474379 (D.
26    Ore. Feb. 14, 2008) (court maintained a stay under 18 U.S.C.
      § 981(g)(1) pending the resolution of a state criminal case);
27    United States v. $151,388 United States Currency, 751 F. Supp.
      547, 551 (E.D.N.C. 1990)(applying the more restrictive pre-CAFRA
28    stay statute that required good cause, the court stayed a
      forfeiture case pending the state criminal case’s resolution).



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1     claimant can pursue civil discovery.         Parties are not entitled
2     to serve interrogatories, document requests or take depositions
3     in state criminal cases.       See Cal. Penal Code § 1054 et seq.
4           Where, as here, proceeding with civil discovery would
5     subject the government to broader discovery that it would have
6     to endure in the criminal proceeding (e.g., requiring the
7     government to respond to written discovery or to questioning at
8     depositions in civil proceeding when parties are not required to
9     respond to written discovery or testify in depositions in
10    criminal cases) or permit claimant and other third parties
11    (including claimant’s nephew Prieto) to obtain discovery earlier
12    than they otherwise would be entitled to receive it in the
13    criminal case, a stay under the mandatory stay provisions of 18
14    U.S.C. § 981(g) is warranted. 7       Indeed, numerous courts examining
15    the pre-CAFRA stay statute (which is more restrictive than
16    CAFRA’s mandatory stay provision) held that “good cause” was
17    established because the broader civil discovery potentially
18    available to a forfeiture claimant could interfere with a
19    related criminal case. 8
20
           7 See, e.g., United States v. One Assortment of
21    Seventy-Three Firearms, 352 F. Supp. 2d 2, 4 (D. Me. 2005) (stay
      under 18 U.S.C. § 981(g) is appropriate where civil discovery
22    will subject the related criminal investigation “to early and
      broader civil discovery than would otherwise be possible in the
23    context of the criminal proceeding”); United States v. Real
      Property and Improvements Located At 10 Table Bluff Road, 2007
24    WL 911849 at *2 (N.D. Cal. Mar. 23, 2007) (stay must be granted
      if civil discovery will subject the Government to broader and
25    earlier discovery than would occur in a criminal case).
26          8United States v. Property at 297 Hawley Street, 727 F.
      Supp. 90, 91 (W.D.N.Y. 1990) (good cause requirement satisfied
27    as stay necessary to protect criminal case from “potentially”
      broad discovery demands); United States v. One Single Family
28    Residence Located at 2820 Taft St., 710 F. Supp. 1351, 1352
      (S.D. Fla. 1989) (stay granted as “scope of civil discovery
      could interfere with the criminal prosecution”).


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1           Cases under CAFRA reach the same result in light of the
2     broad discovery potentially available in civil cases, as CAFRA
3     does not require issuance of a discovery request for the stay.
4     Instead, “Section 981(g)(1) does not require a particularized
5     showing of prejudice or specific harm; rather, all that the
6     Court must determine is whether the civil discovery will
7     interfere with the criminal investigation.”          United States v.
8     One 2008 Audi R8 Coupe Quattro, 866 F. Supp. 2d 1180, 1183 (C.D.
9     Cal. 2011).     Because “more specific disclosure of prejudice
10    through detailed evidentiary support will only result in the
11    very prejudice to the criminal proceeding that the government
12    seeks to avoid[,] . . . [c]ourts have routinely issued Section
13    981(g)(1) stays on the basis of the Government’s allegations of
14    likely prejudice to the criminal proceeding caused by the civil
15    discovery.”     Id. at 1183-84 (citations omitted and emphasis in
16    original).    Accord United States v. $1,026,781.61 in Funds From
17    Florida Capital Bank, 2013 WL 4714188, *1 (C.D. Cal. Jul. 29,
18    2013) (same).
19          Accordingly, the government’s showing here is more than
20    adequate to satisfy the standard. 9       In addition, claimant is
21
           9 See, e.g., United States v. $1,026,781.61 in Funds From
22    Florida Capital Bank, 2009 WL 3458189, *1-2 (C.D. Cal. Oct. 21,
      2009) (case agent’s conclusory affidavit that civil discovery
23    would “compromise the investigation” because claimants would be
      able to “learn of [the] nature and scope” of the investigation
24    and “anticipate future investigative action by the government”
      sufficient to warrant stay); United States v. Approximately
25    $104,770.00 in U.S. Currency, 2011 WL 2224624, *2 (N.D. Cal.
      June 8, 2011) (“Alioto further objects to the Government’s
26    declaration on the ground that [Asset Forfeiture Assistant
      United States Attorney] Countryman does not have personal
27    knowledge of the criminal investigation to which he refers in
      his sealed declaration, and thus the declaration is inadmissible
28    as hearsay. Alito identifies no authority, however, barring the
      Government from relying on hearsay to support a § 981(g) motion
      to stay”); United States v. Various Vehicles, Funds, and Real


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1     criminal defendant’s aunt and both are represented by the same
2     counsel, providing yet further reason to support the stay. 10
3     Claimant’s reliance upon United States v. All Funds
4     ($357,311.68) Contained in Northern Trust Bank, 2004 WL 1834589
5     (N.D. Tex. Aug. 10, 2004) is misplaced. 11
6                       c.   A Stay Is Warranted Because The Disclosure Of
                             Witnesses And Other Details Regarding The
7                            Investigation Leading Up To The Filing Of The
                             Criminal Case Would Adversely Affect The
8                            Prosecution Of The Related Criminal Case.
9           Additionally, discovery in this case would adversely affect
10    the prosecution of the related criminal case because it would
11
12
13
14    Properties Described in Attachment A, 2012 WL 4050829, *2
      (D.S.C. Sept. 13, 2012) (prosecutor’s conclusory declaration
15    accepted to support stay).
            10
             See United States v. Contents of Nationwide Life Ins.
16
      Annuity Account, 2007 WL 682530 at *1 (S.D. Ohio Mar. 1, 2007)
17    (in denying a claimant’s motion for reconsideration of the
      court’s issuance of a stay, the court stated “[a]s the
18    government correctly argues, the Court is also very concerned
      about Defendants in the criminal case using this civil case as a
19    back door method to obtain discovery outside the scope of Fed.
      R. Crim. P. 16”).
20
           11 In All Funds ($357,311.68) Contained in Northern Trust
21    Bank, the court stated that there is no presumption that civil
      discovery, in itself, automatically creates an adverse affect on
22    the related criminal proceeding and the government must make an
      actual showing regarding the anticipated adverse affect. Id.
23    at *2. However, unlike in that case where the government, in
      conclusory fashion, alleged that discovery could impact the
24    criminal case, the government in the instant case has
      (i) submitted evidence ex parte pursuant to 18 U.S.C.
25    § 981(g)(5) to show the adverse impact; (ii) pointed to the fact
      claimant has specifically advised that she will proceed with
26    discovery should the stay be lifted and will file dispositive
      pretrial motions (moving papers at 2:4-5, 2:12-17 and 3:6-8);
27    and (iii) made other arguments (as shown above as well as later
      in this brief) about how claimant’s ability to conduct discovery
28    could adversely affect the prosecution of the related criminal
      case.



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1     require the disclosure of witnesses.         Accordingly, a stay is
2     appropriate on that ground alone. 12
3                       d.   A Stay Is Warranted Because Of The Harm That
                             Would Befall The Government If Either
4                            Government Or Claimant Discovery Is Allowed.
5           Key witnesses involved in the illegal activities (including
6     former claimant Prieto who swore under oath he owned the
7     defendant $146,780.00 in U.S. Currency in its entirety) will
8     likely assert the Fifth Amendment privilege against
9     self-incrimination in response to discovery by the government,
10    meaning that the government would be subject to discovery while
11    Prieto and third parties will not provide discovery on core
12    issues.    Under these circumstances, a stay is appropriate
13    because permitting discovery from the government will allow
14    impermissible one-way discovery. 13
15
            12
             See United States v. VIN: WP1AD2A26DLA72280, 2014 WL
16    289379, *2 (M.D. Fla. Jan. 27, 2014) (stay granted because
      discovery of the identities of the witnesses in the civil case
17    would jeopardize the criminal investigation); United States v.
      All Funds on Deposit in Suntrust Bank Account Number
18    XXXXXXXXX8359, 456 F. Supp. 2d 64, 66 (D.D.C. 2006) (granting
      motion for a stay because discovery in civil forfeiture case
19    would adversely affect the criminal investigation because the
      discovery “could compromise any existing confidential informants
20    and/or interfere with the Government’s ability to obtain
      confidential information from others”); United States v. All
21    Funds on Deposit in Business Marketing Account, 319 F. Supp. 2d
      290, 294 (E.D.N.Y. 2004) (“The court is satisfied that
22    information routinely ordered disclosed in civil matters would
      compromise the identity of confidential informants and
23    cooperating witnesses. Under these circumstances, the court is
      required to stay this civil action. 18 U.S.C. § 981(g)(1)”).
24
           13 See United States v. One Assortment of Seventy-Three
25    Firearms, 352 F. Supp. 2d 2, 4 (D. Me. 2005) (“a protective
      order cannot be imposed as an alternative to a stay because
26    [its] effect . . . would be to allow the claimants’ to pursue
      broad civil discovery while the Government would substantially
27    be unable to do so”); 18 U.S.C. § 981(g)(3) (“In no case,
      however, shall the court impose a protective order as an
28    alternative to a stay if the effect of such protective order
      would be to allow one party to pursue discovery while the other
      party is substantially unable to do so”).


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1           In addition, claimant’s third affirmative defense in her
2     answer provides “[t]he seizure of the defendant property was
3     based on an unlawful search and seizure by state and/or federal
4     authorities in violation of the Fourth Amendment to the United
5     States Constitution.”      Docket No. 21 at 4:1-6.       Claimant’s
6     Fourth Amendment affirmative defense raises factual issues 14 that
7     will require testimonial declarations of law enforcement
8     officers who seized the defendant currency and depositions of
9     other persons such as cooperating witnesses, which will subject
10    those individuals to cross-examination by claimant.            This is
11    exactly the type of discovery that will harm the prosecution of
12    a related criminal case, which CAFRA’s mandatory stay provision
13    was designed to avoid.       See United States v. $247,052.54, 2007
14    WL 2009799, *2 (N.D. Cal. Jul. 6, 2007).
15          Absent a stay, the government would need written and
16    deposition discovery from claimant, Prieto and other persons
17    involved in the illegal conduct that is part of the state
18    criminal case, as well as from third parties with relevant
19    information pertaining to the criminal case, in order to prove
20    the civil forfeiture case in chief and refute the affirmative
21    defenses claimant has raised.        Even if claimant or the third
22    parties responded to government discovery, the government would
23    be creating discovery that would have to be turned over in the
24
25         14 See United States v. Real Property Located at 15324

      County Highway E., 332 F.3d 1070 (7th Cir. 2003) (affirming the
26    denial of claimant’s motion to suppress evidence allegedly
      obtained in violation of the Fourth Amendment’s prohibition
27    against unreasonable search and seizures. The court applied the
      good faith exception to uphold the search of claimant’s real
28    property because the law enforcement officers who searched the
      premises acted in objectively reasonably reliance upon a
      facially valid search warrant issued by the judge).


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1     criminal case, which would thereby expose the prosecution
2     strategy for proving that Prieto engaged in illegal conduct.
3     Therefore, the government’s discovery would adversely affect the
4     prosecution of a related criminal case.
5           In United States v. $247,052.54, 2007 WL 2009799 (N.D. Cal.
6     Jul. 6, 2007), claimant Dobbs argued that because he was
7     prepared to move for summary judgment without seeking any
8     discovery, the action should not be stayed because discovery
9     could not adversely affect the criminal prosecution against him.
10    In rejecting Dobbs’ argument and staying the action, the court
11    noted that “Dobbs is not the only party that might want
12    discovery in this action, however.         The Government seeks and is
13    entitled to conduct discovery.”        Id. at *1 (citation omitted).
14    The court also stated that proceeding with discovery “may have a
15    serious adverse impact on the criminal case against Dobbs.”             Id.
16    at *2.    In addition, the court reasoned:
17          The factual allegations underlying the two cases are
            very similar. . . . To prove that the Defendants in
18          this case are linked to the sale and distribution of
            marijuana, and therefore subject to forfeiture, the
19          Government will have to prove many of the same facts
            it will need to prove in the criminal case. The risk
20          of an adverse effect on the criminal case is clear.
            The Government asserts that it would need to depose
21          certain witnesses-Edward Shield and Wade Trabue-to
            proceed on its forfeiture claims. Both are also
22          witnesses with knowledge relevant to the criminal
            case, and deposing them now would allow Dobbs the
23          opportunity to cross examine them in advance of trial,
            potentially exposing the Government’s strategy for
24          trial, or require them to divulge information related
            to the criminal case. Dobbs simply ignores this
25          concern. The Government would also require
            testimonial declarations from law enforcement
26          officers, whose testimony will play a central role in
            the criminal trial, creating additional risks.
27
28




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1     Id. 15
2              Finally, a stay is in the interests of judicial economy as
3     common factual questions are likely to be explored in the
4     criminal case.       The civil forfeiture and criminal case involve
5     many of the same illegal acts and transactions and the same or
6     similar issues of fact and law.        Many, if not most, of the
7     factual disputes and questions relevant to the civil forfeiture
8     action will likely be explored in the criminal case.            In any
9     event, the issues left to be determined in the civil forfeiture
10    case after the resolution of a related criminal case are likely
11    to be pared down.       The interest of judicial efficiency will be
12    served by narrowing the focus of the civil case to whatever
13    issues are left unresolved after the criminal case’s resolution.
14             B.    A Stay Is Also Appropriate Under The Court’s Inherent
                     Power To Control Its Dockets.
15
               The court is also empowered to issue a stay pursuant to its
16
      inherent power to control its docket and calendar. Mediterranean
17
      Enterprises v. Ssangyong Corp., 708 F.2d 1458, 1465 (9th Cir.
18
      1983).        When “it is efficient for its own docket and the fairest
19
      course for the parties to enter a stay of an action before it,”
20
      the district court may do so “pending resolution of independent
21
      proceedings which bear upon the case.”         Id. at 1465 (internal
22
23
               15
             Accord United States v. $2,067,437.08 in U.S. Currency,
24    2008 WL 238514, *6 (E.D. Tex. Jan. 28, 2008) (stay ordered where
      claimant contented that it could proceed with summary judgment
25    motion without discovery, government claimed it had to engage in
      ordinary civil discovery and claimant acknowledged that it would
26    be unduly prejudiced if claimant was required to produce
      discovery while criminal case was pending against claimant);
27    United States v. 2009 Dodge Challenger, 2011 WL 6000790, *2 (D.
      Or. Nov. 30, 2011) (“I conclude that civil discovery, whether
28    initiated by claimants or necessitated by claimants’ motion for
      summary judgment, would adversely affect the ability of the
      government to prosecute the related criminal investigation”).


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1     quotation marks and citation omitted).           This rule “does not
2     require that the issues in [the other] proceedings are
3     necessarily controlling of the action before the court.”            Leyva
4     v. Certified Grocers of California, Ltd., 593 F.2d 857, 863-64
5     (9th Cir. 1979) (citations omitted).         “[T]he court may order a
6     stay of the action pursuant to its power to control its docket
7     and calendar and to provide for a just determination of the
8     cases pending before it.”       Id. at 864. 16    Therefore, a stay is
9     also proper under the Court’s inherent power.
10          C.     Claimant’s Arguments Are Unavailing.
11          None of claimant’s arguments warrants the stay’s
12    dissolution.     Claimant contends that her claim, which she now
13    claims is for only $96,780.00 of the $146,780.00 (see moving
14    papers 1:4-5) despite the fact that her under oath verified
15    claim asserts she claims the entire $146,780.00 (docket no. 19),
16    is somehow severable and unrelated to the criminal case against
17    her nephew Pietro.      Her assertion is pure folly.
18          The wiretap intercepted telephone conversations indicate
19    the co-conspirators intended to transport approximately $155,000
20    of narcotics proceeds (see docket no. 1, complaint ¶ 9), which
21    is approximately the amount of the defendant $146,780.00 in U.S.
22    Currency, and therefore shows that claimant’s claim is not
23    severable.    In addition, prosecutors must prove that Prieto
24
           16 See also Landis v. North American Co., 299 U.S. 248, 254
25    (1936) that the (district court’s “power to stay proceedings is
      incidental to the power inherent in every court to control the
26    disposition of the causes on its docket with economy of time and
      effort for itself, for counsel, and for litigants”); Wallace v.
27    Kato, 549 U.S. 384, 393-94 (2007) (“it is within the power of
      the district court, and in accord with common practice, to stay
28    the civil action until the criminal case or the likelihood of a
      criminal case is ended”).



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1     possessed over $100,000.00 in narcotic proceeds to convict
2     Prieto; if claimant proved in the forfeiture proceeding that
3     $96,780.00 belongs to her, then only $50,000.00 of the
4     $146,780.00 (i.e., $146,780.00 - $96,780.00) would remain for
5     prosecutors to convict Pietro.        In order to reach the
6     $100,000.00 threshold, prosecutors must therefore show that some
7     portion (i.e., more than $50,000.00) of the $96,780.00 claimant
8     now claims represents narcotic proceeds.          Accordingly, not only
9     is claimant’s assertion that her claim is independent from the
10    criminal case belied by the facts, the funds she claims are
11    necessarily the same as those involved in the criminal case.
12          Claimant’s due process arguments are likewise incorrect.
13    She asserts that the stay is unconstitutional because it is
14    indefinite (moving papers at 6:11-19), yet the stay is of
15    definite duration because the government is required to file
16    status reports every ninety days regarding the criminal case, in
17    order to allow the Court to monitor the progress of this matter
18    and determine whether the government need submit anything more
19    to justify a continued stay.        This is the typical manner in
20    which courts handle 18 U.S.C. § 981(g) stays. 17
21          In addition, claimant argues that due process has been
22    violated because, according to claimant, there has been “delay”
23
            17
             See, e.g., United States v. Approximately $69,577 in U.S.
24    Currency, 2009 WL 1404690, *1 (N.D. Cal. May 19, 2009) (ordering
      the government “to file status reports every 90 days detailing
25    the continued need for a stay”); United States v. Real Property
      and Improvements, 2007 WL 911849, *1 (N.D. Cal. Mar. 23, 2007)
26    (requiring government “to file status reports every 60 days
      detailing the continued need for a stay”); United States v.
27    $1,111,120.00 in U.S. Currency, 2014 WL 619436, *1-2 (S.D. Ohio
      Feb. 18, 2014) (noting that government was required to file
28    quarterly status reports regarding the criminal investigation
      during the three years that the stay was in effect).



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1     (moving papers at 4:15-5:6), yet claimant does not specify when
2     the period of “delay” either began or ended in this case 18 nor
3     mentions that due process is measured from the date assets are
4     seized (here, August 29, 2016) to the date administrative
5     forfeiture proceedings were initiated against the asset (here on
6     October 12, 2016 [Rodgers Decl. ¶ 2]).         A two month delay in
7     commencing forfeiture proceedings (or even a three and one half
8     month period using the January 18, 2017 complaint filing date)
9     does not constitute a due process violation. 19
10          Furthermore, due process is not measured based upon the
11    period between a complaint’s filing and the merits adjudication
12    as to the defendant asset forfeitability. 20        In addition, the
13
            18
             Instead of providing this information, claimant merely
14    states that the civil forfeiture case was filed January 18, 2017
      (moving papers at 1:6-9), the criminal case was filed December
15    4, 2017 (id.), Prieto withdrew and claimant filed their claims
      nine months before the criminal case was filed (id.), and cases
16    have found due process violations with respect to periods of
      time that claimant has not linked to the instant case and have
17    nothing to do with the instant case (id. at 4:15-5:6).
18         19 See United States v. $8,850.00 in U.S. Currency, 461 U.S.
      555, 565 (1983) (cited by claimant, where the Supreme Court
19    measured the delay between the seizure of the asset and
      commencement of administrative forfeiture proceedings and found
20    that an eighteen-month delay did not violate due process);
      United States v. Approximately $1.67 Million in U.S. Currency,
21    Stock & Other Valuable Assets, 513 F.3d 991, 998, 1001 (9th Cir.
      2008) (measuring the delay between the asset seizure and the
22    civil forfeiture complaint filing and finding that a five year
      delay did not violate due process); United States v. Ninety-
23    Three (93) Firearms, 330 F.3d 414, 426 (6th Cir. 2003)
      (measuring delay between asset seizure and complaint filing and
24    finding that a three year delay did not violate due process).
25         20 As reflected in the preceding footnote, the Supreme Court
      in United States v. $8,850.00 in U.S. Currency, 461 U.S. 555
26    (1983), analyzed due process and, in doing so, applied the four-
      factor test discussed in Barker v. Wingo, 407 U.S. 514 (1972).
27    The court noted in United States v. $1,111,120.00 in U.S.
      Currency, 2014 WL 619436, *2 (S.D. Ohio Feb. 18, 2014) that:
28
            the Barker test requires balancing the interests of
            the claimant against those of the government to


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1     length and unknown duration of the stay does not violate due
2     process (despite claimant’s arguments about the stay’s unknown
3     duration [see moving papers at 6:6-15]), because this civil
4     forfeiture case has been stayed due to a pending criminal case. 21
5           None of claimant’s cases hold or suggest otherwise.
6     Dusting off pre-1980 case law, claimant cites decades-old cases,
7     decided long before the adoption of CAFRA which enacted that
8     mandatory stay statute involved in the instant case and have
9     nothing to do with the issues at hand. 22
10
11          determine whether the delay in initiating the
            forfeiture process (i.e., the time period between
12          seizure of the property and bringing a judicial
            forfeiture action) has resulted in a deprivation of
13          property without due process. Thus, the Barker test
            is inapplicable to the instant case, where the
14          Government timely initiated the forfeiture action and
            this Court appropriately stayed the proceedings.
15
      (Emphasis in original and citation omitted).
16
            21
             Courts have routinely rejected claimant due process
17    arguments regarding the length and unknown duration of mandatory
      18 U.S.C. § 981(g) stays. See, e.g., United States v. Real
18    Property Located at 6415 N. Harrison Ave., 2012 WL 4364076, *5
      (E.D. Cal. Sep. 21, 2012) (in granting the government’s motion
19    for a stay, the court noted “the Court will not speculate on the
      anticipated duration of Choi’s criminal proceedings. The Court
20    notes, however, that in considering the reason for the delay . .
      . the presence of related criminal proceedings has long been
21    considered a justification for a lengthy delay in forfeiture
      proceedings”) (citations omitted); United States v. Contents of
22    Nationwide Life Ins. Annuity, 2008 WL 1733130, *4 (S.D. Ohio
      Apr. 10, 2008) (the court held that stay of civil forfeiture
23    action for eighteen months while criminal proceedings were
      pending did not violate due process); United States v.
24    $1,111,120.00 in U.S. Currency, 2014 WL 619436 (S.D. Ohio Feb.
      18, 2014) (the court held that stay of civil forfeiture action
25    for three years while criminal investigation was ongoing did not
      violate due process). See also United States v. Approximately
26    $1.67 Million in U.S. Currency, Stock & Other Valuable Assets,
      513 F.3d 991, 998, 1001 (9th Cir. 2008) (the court held that a 5
27    year delay between the asset seizure and filing of a forfeiture
      complaint did not violate due process).
28
            22
             In United States v. Four (4) Contiguous Parcels of
      Property Situated in Louisville, Jefferson County, Ky., 864 F.


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1           In addition, claimant has it backwards when she argues that
2     the government could move for a protective order if claimant
3     conducted discovery that the government found objectionable.
4     But claimant bears the burden under 18 U.S.C. § 981(g)(3) to set
5     forth the terms of a protective order that claimant contends
6     should be issued, in lieu of the stay, that will protect the
7     government’s interests and not impact the prosecution of the
8     state criminal case.      Claimant has not done so and, for the
9     reasons set forth above, the government submits there is no
10    protective order that could be entered in this case that would
11    be appropriate and protect the investigation and criminal case.
12          Finally, while claimant notes that she responded to
13    government interrogatories (moving papers at 1:17 and 2:10), she
14    ignores the fact that she responded to the government’s
15    Supplemental Rule G(6) special interrogatories - -
16    interrogatories that are appropriately served, regardless of any
17    stay.      By statute, special interrogatories are limited to
18    inquiries pertaining to a claimant’s identity and relationship
19    to the defendant asset 23 and, for the reasons explained below,
20
      Supp. 652 (W.D Ky. 1994), the court (i) denied the government’s
21    motion for a stay under the predecessor to CAFRA’s 18 U.S.C.
      § 981(g) mandatory stay provision, which contained an additional
22    requirement that the government establish “good cause” for a
      stay (see discussion above); and (ii) noted that the government
23    was seeking an impermissible stay of indefinite duration (which
      is not the situation in the instant case, as discussed above).
24    Likewise, in In re Ramu Corp., 903 F.2d 312 (5th Cir. 1990), the
      court reversed a stay and remanded the case for the district
25    court to determine whether the “good cause” requirement had been
      met under predecessor stay statutes.
26
            23
             See Supplemental Rule G(6) of the Supplemental Rules for
27    Admiralty or Maritime Claims and Asset Forfeiture Actions
      (“[t]he government may serve special interrogatories limited to
28    the claimant’s identity and relationship to the defendant
      property without the court’s leave at any time after the claim
      is filed and before discovery is closed”).


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1     play a critical role in asset forfeiture cases to weed out at an
2     early stage claims filed by improper claimants, by allowing the
3     government via the special interrogatories to determine whether
4     a claimant has constitutional standing to maintain a claim.
5           As intervenors seeking to challenge the forfeiture,
6     claimants in in rem civil forfeiture cases must establish they
7     have sufficient interest in the property to invoke the court’s
8     jurisdiction. 24    If a claimant does not have a real interest in
9     the property, there is no “case or controversy” and,
10    consequently, no basis for a court to exercise jurisdiction
11    under Article III of the Constitution. 25        For that reason, a
12    claimant’s Article III standing is a threshold issue in every in
13    rem civil forfeiture case. 26
14
15
            24
             See United States v. $38,000.00 in U.S. Currency, 816
16
      F.2d 1538, 1543 n. 12 (11th Cir. 1987) (because a civil
17    forfeiture action is brought against the property in rem, and
      not against the claimant personally, the government has no
18    burden of proof until the claimant demonstrates that he has “a
      legally cognizable interest in the property that will be injured
19    if the property is forfeited to the government” sufficient to
      satisfy the case or controversy requirement).
20
           25 See United States v. Real Property Located at 5201
21    Woodlake Dr., 895 F. Supp. 791, 793 (M.D.N.C. 1995) (“in order
      to contest a forfeiture, a claimant first must demonstrate a
22    sufficient interest in the property to give him Article III
      standing; otherwise, there is no ‘case or controversy,’ in the
23    constitutional sense, capable of adjudication in the federal
      courts”) (citations and internal quotation marks omitted).
24
           26 See Via Mat International South America, Ltd. v. United
25    States, 446 F.3d 1258, 1262 (11th Cir. 2006) (“standing is the
      ‘threshold question in every federal case, determining the power
26    of the court to entertain the suit’”) (quoting Warth v. Seldin,
      422 U.S. 490, 498 (1975)); United States v. Real Property
27    Located at Section 18, 976 F.2d 515, 520 (9th Cir. 1992)
      (standing is a “threshold issue . . . [and] claimant has the
28    burden of establishing, by a preponderance of the evidence, that
      he has an interest in the property”) (citations omitted).



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1           As many courts have recognized, the in rem nature of civil
2     forfeiture actions creates a substantial danger that claims will
3     be filed by persons with no real interest in the property. 27
4     Entirely frivolous claims may be filed by people who have no
5     connection with the forfeiture case, while other claims may be
6     filed by straw men, nominees, couriers or other third parties
7     seeking to contest the forfeiture in their own names while
8     concealing the identity of some person who cannot or will not
9     file a claim on his or her own behalf.
10          In such cases, pretrial challenges to a claimant’s
11    standing, based upon a claimant’s Supplemental Rule G(6)
12    interrogatory responses and other evidence, are critical: they
13    present the only opportunity for courts to weed out claims filed
14    by improper claimants who lack constitutional standing before
15    the government must respond to litigation actions taken by the
16    claimant. 28   (In addition, the government notes that claimants
17    must establish their standing to be entitled to a mandatory stay
18
19
            27
             United States v. $100,348.00, 354 F.3d 1110, 1118-19 (9th
20    Cir. 2004) (“the danger of false claims in [civil forfeiture]
      proceedings is substantial”) (internal quotations and citation
21    omitted); Mercado v. U.S. Customs Service, 873 F.2d 641, 645 (2d
      Cir. 1989) (there is a “substantial danger of false claims in
22    forfeiture proceedings”); United States v. $138,381.00 in U.S.
      Currency, 240 F. Supp. 2d 220, 228 (E.D.N.Y. 2003) (same)
23
            28
             See Advisory Committee Notes to Supplemental Rule G(8)(c)
24    (noting the “special role that subdivision (6) [i.e.,
      Supplemental Rule G(6)] plays in the scheme for determining
25    claim standing”); United States v. $133,420.00 in U.S. Currency,
      672 F.3d 629, 642 (9th Cir. 2012) (“[t]he purpose of the rule is
26    to permit the government . . . to gather information that bears
      on the claimant’s standing;” e.g., special interrogatories are
27    used to “test the veracity of [claimant’s] claim of ownership”)
      (internal quotation marks omitted); United States v. $410,000.00
28    in U.S. Currency, 2007 WL 4557647, *7 & n. 5 (D.N.J. Dec. 21,
      2007) (special interrogatories are necessary to insure claimant
      has standing and to protect against nominee claimants).


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1     under the claimant-requested mandatory stay provision, i.e., 18
2     U.S.C. § 981(g)(2)(B), which is not at issue here).
3           Here, the government’s special interrogatories were
4     entirely appropriate, as claimant Manuela Gomez did not appear
5     to have any relationship whatsoever to the defendant currency.
6     As the government alleged in its complaint, when officers
7     executed the search warrant at the Compton, California residence
8     and seized the defendant currency, officers identified the three
9     occupants in the residence as Prieto, A. Gomez and H. Gomez, and
10    all three claimed to reside there and stated that no one else
11    resided there.     Docket No. 1 (complaint) at ¶ 14.        Accordingly,
12    without Supplemental Rule G(6) interrogatories, the government
13    could not determine how claimant Manuela Gomez could have any
14    relationship to the defendant currency and constitutional
15    standing to assert a claim challenging the forfeiture of the
16    defendant currency.
17                                     CONCLUSION
18          For the foregoing reasons, the government respectfully
19    requests that claimant’s motion to dissolve the stay be denied.
20    Dated: June 4, 2018                 Respectfully submitted,
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25
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